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 5
 6   Attorney for Defendant
     JUAN SANCHEZ MEDINA
 7
 8
 9                          IN THE UNITED STATES DISTRICT COURT
10                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )       No. 2:09-CR-0355 FCD
                                     )
14                  Plaintiff,       )       STIPULATION AND ORDER
                                     )       CONTINUING STATUS CONFERENCE
15        v.                         )       AND EXCLUDING TIME
                                     )
16   JUAN SANCHEZ MEDINA and         )
     BENITO CANUTO GUERRERO,         )       Date: March 1, 2010
17                                   )       Time: 10:00 a.m.
                    Defendants.      )       Judge: Hon. Frank C. Damrell, Jr.
18                                   )
     _______________________________ )
19
20
21         IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
22   of   America,   and    defendants,   Juan   Sanchez   Medina   and   Benito   Canuto
23   Guerrero, that the status conference scheduled for March 1, 2010, may be
24   continued to March 15, 2010, at 10:00 a.m.
25         Both parties are completing steps necessary to resolve their cases
26   under the safety valve.      The parties anticipate resolving the case in the
27   near future.    To afford additional necessary time to prepare, the parties
28   agree that time under the Speedy Trial Act should be excluded from the
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 1   date of this order through the status conference on March 15, 2010,
 2   pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv).
 3                                             Respectfully submitted,
 4                                             DANIEL J. BRODERICK
                                               Federal Defender
 5
 6   Dated:    February 25, 2010               /s/ T. Zindel
                                               TIMOTHY ZINDEL
 7                                             Assistant Federal Defender
                                               Attorney for JUAN SANCHEZ MEDINA
 8
 9   Dated:    February 25, 2010               /s/ T. Zindel for D. Koukol
                                               DAN KOUKOL
10                                             Attorney for BENITO CANUTO GUERRERO
11
12                                             BENJAMIN B. WAGNER
                                               United States Attorney
13
14   Dated:    February 25, 2010               /s/ T. Zindel for T. Leras
                                               TODD LERAS
15                                             Assistant U.S. Attorney
16
17                                        O R D E R
18         The status conference is continued to March 15, 2010, at 10:00 a.m.
19   Time under the Speedy Trial Act is excluded through that date for the
20   reasons stated above and by agreement of the parties, the Court finding
21   that the ends of justice to be served by a continuance outweigh the best
22   interests of the defendant and the public in a speedy trial.
23         IT IS SO ORDERED.
24
25   Dated: February 25, 2010
26                                             ________________________________
                                               FRANK C. DAMRELL, JR.
27                                             UNITED STATES DISTRICT JUDGE
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     Stip. & Order                             2
